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                          UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF IOWA
                                 CENTRAL DIVISION

 DENNIS DONNELLY, on behalf of himself
 and all others similarly situated,

                        Plaintiff,                   Case No. 4:25-cv-00150-RGE-WPK

        v.
                                                     DEFENDANTS J. ANN SELZER
 DES MOINES REGISTER AND TRIBUNE                     AND SELZER & COMPANY’S MOTION
 CO., INC.; J. ANN SELZER; SELZER &                  TO DISMISS UNDER RULE 12(b)(6)
 COMPANY; and GANNETT CO., INC.,
                                                     ORAL ARGUMENT REQUESTED
                        Defendants.


       Defendants J. Ann Selzer and Selzer & Company move under Federal Rule of Civil

Procedure 12(b)(6) for dismissal of the Complaint because it fails to state a claim upon which relief

can be granted. In support, Ms. Selzer and Selzer & Company rely on the accompanying Brief in

Support. Pursuant to Local Rule 7(c), Ms. Selzer and Selzer & Company respectfully request oral

argument on their motion in order to address the critical First Amendment principles at stake.

       Defendants J. Ann Selzer and Selzer & Company respectfully request this Court dismiss

Plaintiff’s claims with prejudice.

Dated: May 19, 2025                               Respectfully Submitted,

                                                  /s/ Robert Corn-Revere                      .
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                               CERTIFICATE OF SERVICE
       The undersigned certifies that a true copy of the foregoing document was served upon all

parties of record through the Court’s CM/ECF electronic filing system on May 19, 2025.

                                                          /s/ Robert Corn-Revere
